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                       IN THE UNITED STATES COURT OF APPEALS

                                 FOR THE ELEVENTH CIRCUIT
                                   ________________________

                                        No. 22-11707-JJ
                                   ________________________

PAUL A. EKNES-TUCKER,
Rev.,
BRIANNA BOE,
individually and on behalf of her minor son, Michael Boe,
JAMES ZOE,
individually and on behalf of his minor son, Zachary Zoe,
MEGAN POE,
individually and on behalf of her minor daughter, Allison Poe,
KATHY NOE, et al.,
individually and on behalf of her minor son, Christopher Noe,

                                                                              Plaintiffs-Appellees,

                                              versus

GOVERNOR, OF THE STATE OF ALABAMA,
ATTORNEY GENERAL, STATE OF ALABAMA,
DISTRICT ATTORNEY, FOR MONTGOMERY COUNTY,
DISTRICT ATTORNEY, FOR CULLMAN COUNTY,
DISTRICT ATTORNEY, FOR LEE COUNTY, et al.,

                                                                           Defendants-Appellants.
                                   ________________________

                            Appeal from the United States District Court
                                for the Middle District of Alabama
                                  ________________________


ORDER:

       Appellants’ “Unopposed Motion for Expedited Briefing and Appellate Review” is

GRANTED. The Court DIRECTS the Clerk’s Office to expedite the appeal for merits disposition

purposes and place this appeal on the next available oral argument calendar. Briefing in this appeal

shall proceed as follows:
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        Appellants’ initial brief is due by June 27, 2022, with the appendix due 7 days from the

filing of the initial brief.

        Appellees’ response briefs are due by August 10, 2022.

        Appellants’ reply brief, if any, is due by August 31, 2022.


                                                            /s/ Kevin C. Newsom
                                                            UNITED STATES CIRCUIT JUDGE




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